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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. 2:18-cr-266 WBS
13                  Plaintiff,

14        v.                                 MEMORANDUM AND ORDER RE:
                                             MOTION TO SUPPRESS
15   JOSHUA BILAL GEORGE,

16                  Defendant.

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18                                ----oo0oo----

19             This case concerns defendant Joshua Bilal George’s

20   alleged participation in a scheme to steal Social Security

21   benefits and defraud the Social Security Administration.          Before

22   the court is defendant’s motion to suppress cell site location

23   information (“CSLI”) pertaining to defendant’s cell phone.

24   (Docket No. 109.)

25             The parties agree as to most of the relevant facts in

26   this motion.    On May 31, 2018, pursuant to the Stored

27   Communications Act, 18 U.S.C. §§ 2701-2712(d) (“SCA”), the

28   government applied for an order from a magistrate judge to obtain
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1    cell site location information for defendant’s cell phone from

2    AT&T.    (Mot. Opp’n Ex. 1 (Docket No. 117-1 at 6-15).)           Under

3    Sections 2703(c) and (d) of the Act, the government may obtain

4    such an order by offering “specific and articulable facts showing

5    that there are reasonable grounds to believe” that electronic

6    communication contents or records “are relevant and material to

7    an ongoing criminal investigation.”       United States Magistrate

8    Judge Carolyn K. Delaney issued the requested order the same day,

9    and on June 15, 2018, AT&T produced the requested records to the

10   government.    (Mot. Opp’n Exs. 1-3 (Docket Nos. 117-1 at 2-4, 117-

11   2 at 2, and 117-3 at 2-3).)

12              On June 22, 2018, only seven days after the government

13   received the cell site location information for defendant’s cell

14   phone, the United States Supreme Court issued its opinion in

15   Carpenter v. United States, 138 S. Ct. 2206 (2018).          There, the

16   Court held that the acquisition of cell site location information

17   constituted a search under the Fourth Amendment, and thus the

18   government was required to obtain a search warrant supported by

19   probable cause in order to obtain such information.

20              Although the parties dispute when the government began
21   analyzing defendant’s CSLI, it is undisputed that the government

22   reviewed and analyzed the data after the Carpenter decision was

23   issued.1   That review, as well certain other records, including

24
          1    Defendant has produced no evidence to dispute the
25   declaration of Special Agent Sean C. Fagan, in which he states
26   that he began a review of the cell site location information no
     later than June 20, 2018, which was before the decision in
27   Carpenter. This assertion is supported by an email he sent to
     the United States Attorney’s Office on June 20, 2018. (See Fagan
28   Decl. ¶ 8 (Docket No. 117) & Ex. 4 (Docket No. 117-4).) However,
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1    cell site location for a “burner phone” connected to the scheme,

2    culminated in a report issued in June 2019, about a year after

3    Carpenter was issued.2    (Mot. Ex. A. (Docket No. 111).)

4    Defendant now argues that the Carpenter decision required the

5    government to obtain a warrant to review and analyze defendant’s

6    cell site location information, notwithstanding the fact that the

7    information was obtained before Carpenter.

8              The court rejects this argument.        The Ninth Circuit’s

9    opinion in United States v. Korte, 918 F.3d 750 (9th Cir. 2019)

10   is instructive.    There, the court considered whether the good-

11   faith exception applies to the warrantless acquisition of a

12   defendant’s CSLI before Carpenter.       Looking at United States v.

13   Leon, 468 U.S. 897 (1984) and Illinois v. Krull, 480 U.S. 340

14   (1987), the Korte court explained that “[e]vidence obtained by

15   the Government, acting in ‘objectively reasonable reliance upon a

16   statute’ that is ‘ultimately found to violate the Fourth

17   Amendment,’ does not require suppression.”        918 F.3d at 758

18   (quoting Krull, 480 U.S. at 342, 350).

19             The Korte court explained that the SCA clearly

20   authorized obtaining CSLI through a court order before Carpenter,
21   and prior to Carpenter, all circuits that had addressed the

22   warrantless search provision of the SCA had affirmed its

23   constitutionality under the Fourth Amendment.         918 F.3d at 758

24   (citing United States v. Gilton, 917 F.3d 1068, 1078 (9th Cir.

25   the court need not determine when the government’s analysis
26   began, for the reasons discussed below.

27        2    The government did obtain a warrant to acquire CSLI for
     the burner phone, pursuant to a request which was made in April
28   2019, well after the Carpenter decision.
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      Case 2:18-cr-00266-WBS Document 119 Filed 04/07/20 Page 4 of 7


1    2019) (explaining that, at least as of 2012, “the prevailing

2    belief” was “that CSLI data was not protected by the Fourth

3    Amendment”); United States v. Graham, 824 F.3d 421, 424 (4th Cir.

4    2016) (en banc); United States v. Carpenter, 819 F.3d 880, 884

5    (6th Cir. 2016); United States v. Davis, 785 F.3d 498, 511 (11th

6    Cir. 2015) (en banc); In re Application of the U.S. for

7    Historical Cell Site Data, 724 F.3d 600, 615 (5th Cir. 2013); In

8    re Application of the U.S. for an Order Directing a Provider of

9    Elec. Commc’n Serv. to Disclose Records to the Gov’t, 620 F.3d

10   304, 313 (3d Cir. 2010)).

11             Under these circumstances, the Korte court explained

12   that it could not say “that the Government had any reason to

13   doubt the SCA’s constitutionality, such that it may have been

14   acting in bad faith.”     918 F.3d at 758.     The Korte court further

15   held that finding good faith under these circumstances “accords

16   with the exclusionary rule’s limited purpose to deter future

17   Fourth Amendment violations, rather than remedy the rights of a

18   single aggrieved party,” because “[f]or us to exclude CSLI,

19   obtained in good faith based on a then-lawful legislative scheme,

20   would do nothing to prevent future Fourth Amendment violations.”
21   Id. at 759 (citing, inter alia, Davis v. United States, 564 U.S.

22   229, 236-37 (2011)).     Here, similarly, the court has no reason to

23   doubt that the government obtained defendant’s CSLI in good

24   faith, notwithstanding defendant’s intimations that the

25   government should have known that the Supreme Court would

26   eventually hold that a warrant was required to obtain CSLI.
27             The fact that Carpenter may have been issued before or

28   during the government’s review of the CSLI has no bearing on this
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1    good faith analysis, because Carpenter was issued after the CSLI

2    was obtained by the government.      Notably, cases addressing the

3    admissibility of CSLI after Carpenter have focused on when the

4    data was acquired, without inquiry into when the data was

5    analyzed.   See, e.g., Korte, 918 F.3d at 758 (“When the

6    Government obtained [the defendant’s] CSLI -- before Carpenter

7    was decided -- acting by court order was still authorized.”);

8    United States v. Beverly, 943 F.3d 225, 234 (5th Cir. 2019) (“We

9    hold that the Krull strand of the good-faith exception properly

10   applies to the [CSLI at issue], since it was obtained pursuant to

11   a pre-Carpenter warrantless order authorized by statute.”);

12   United States v. Goldstein, 914 F.3d 200, 204-05 (3d Cir. 2019)

13   (good faith exception applied to CSLI obtained via court order

14   because “[a]t the time the search was executed, it was

15   authorized” by the SCA ; United States v. Carpenter, 926 F.3d

16   313, 317-18 (6th Cir. 2019) (“Carpenter II”) (on remand from

17   Supreme Court, finding that government agents reasonably relied

18   on the SCA at the time they acquired certain CSLI); United States

19   v. Curtis, 901 F.3d 846, 847-49 (7th Cir. 2018) (exclusion of

20   cell data was not required because it was “collected” in good
21   faith in reliance on the SCA); United States v. Chavez, 894 F.3d

22   593, 608 (9th Cir. 2018) “[I]nvestigators in this case reasonably

23   relied on court orders and the Stored Communications Act in

24   obtaining the cell site records.”); (United States v. Joyner, 899

25   F.3d 1199, 1204-05 (11th Cir. 2018) (good faith exception applied

26   where the government complied with the SCA at the time it
27   obtained orders to compel cell site records).

28               “What matters is whether it was objectively reasonable
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1    for the officers to rely on the statute at the time of search.”

2    Carpenter II, 926 F.3d at 317; see also Krull, 480 U.S. at 349-52

3    (good faith exception applies to evidence “obtained” in

4    reasonable reliance on a statute later declared

5    unconstitutional).     Here, the search was effected when AT&T

6    searched through its records and provided defendant’s CSLI to the

7    government.

8                As explained by one court, orders or warrants to

9    produce information under the SCA “are executed when a law

10   enforcement agent delivers . . . the warrant to the service

11   provider.     The service provider, not the agent, performs the

12   ‘search’; the service provider ‘produces’ the relevant material

13   to the agent . . . .”     Matter of Leopold to Unseal Certain Elec.

14   Surveillance Appls. & Orders, 300 F. Supp. 3d 61, 89 (D.D.C.

15   2018) (citations omitted).      Defendant has provided no authority,

16   and the court is unaware of any, which would require law

17   enforcement or the government to obtain a warrant to use or

18   analyze evidence that was already in its possession, where

19   subsequent court decisions made it clear that a warrant was now

20   required to obtain such evidence.3      Simply put, analyzing data
21        3    Defendant cites United States v. Hasbajrami, 945 F.3d
22   641, 669-73 (2d Cir. 2019), though that case is inapposite.
     Hasbajrami involved the incidental collection of electronic
23   communications of United States citizens during a warrantless
     search targeted at foreign individuals under the Foreign
24   Surveillance Amendments Act. Hasbajrami did not involve the SCA
     and suggested, but did not hold, that running searches of this
25   incidentally collected data without a warrant could violate the
26   Fourth Amendment’s “bedrock . . . concept that law enforcement
     agents may not invade the privacy of individuals without some
27   objective reason to believe that evidence of crime will be found
     by a search.” Hasbajrami, 945 F.3d at 671-72. Here, the cell
28   site location information was specifically allowed under the
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1    obtained via a court order, pursuant to the SCA, has never been

2    considered a separate search under the Fourth Amendment.

3              Under this analysis, the search of defendant’s CSLI

4    occurred no later than June 15, 2018, when AT&T provided

5    defendant’s data to the government.       As discussed above, such

6    data was obtained in good faith under the then-valid statute and

7    existing case law.4    See Korte, 918 F.3d at 758-59.

8              IT IS THEREFORE ORDERED that defendant’s Motion for

9    Suppression of Evidence (Docket No. 109) be, and the same hereby

10   is, DENIED.

11   Dated:   April 7, 2020

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     magistrate judge’s order, and defendant does not contest that the
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     government’s application for such order offered “specific and
18   articulable facts showing that there [were] reasonable grounds to
     believe” that the records were “relevant and material to an
19   ongoing criminal investigation,” as required by the SCA, 18
     U.S.C. § 2703(d).
20
          4    Because the court determines that the good faith
21   exception applies to CSLI acquired prior to Carpenter regardless
22   of when that information may have been later reviewed or analyzed
     by the government, the court need not hold an evidentiary hearing
23   regarding, for example, “government training during the pre-
     Carpenter era”, the “timeline” of the government agent’s review
24   and analysis of the CSLI, and that agent’s communications with
     the prosecutor regarding Carpenter. (See Mot. Reply 5-7 (Docket
25   No. 118) (arguing that an evidentiary hearing was required to
26   determine whether the good faith exception applies in this
     case).)
27             Further, because the court determines that the good
     faith exception applies, it expresses no opinion as whether the
28   inevitable discovery exception would apply in this case.
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